       Case 7:94-cr-40106-JLK                  Document 978 Filed 09/14/11               Page 1 of 1           Pageid#:
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AO247(06/09)OrderRegardingMotionforSentenceReductionPursuantto18U.S.
                                                                   C.j3582(c)(2)                         j .
                                                                                                              AT M                  r
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                                                                                                                       LLE,vA
                                 UNITED STATES  DISTRICTCOURT
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                                                 W estern DistrictofVirginia                         JULI
                                                                                                        A C. :)
                                                                                                    :y'
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                  United StatesofAmerica                                                                       E T# LE
                              V.
               LAW SON JACOB DODSON                               CaseNo: 7:94CR40106-26
                                                                  USM N o:04918-084
 Date ofPreviousJudgment:            03/24/2008
 (UseDateofLastAmendedludgmentIfApplicable)                       Defendant'sAttorney

                  OrderRegardingM otion forSentenceReductionPursuantto18U.S.C.j3582(c)(2)
        Uponmotionof1
                    -
                    7-1thedefendant!-1theDirectoroftheBureauofPrisonsU-Ithecourtunder18U.S.C.
 j3582(($(2)forareductionintheterm ofimprisonmentimposedbasedon aguidelinesentencingrangethathas
subsequently been lowered and maderetroactivebythe United StatesSentencing Comm ission pursuantto 28 U.S.C.
j994(u),andhavingconsidered suchmotion,andtaking intoaccountthesentencingfactorssetforthin 18U.S.C.j
3553(a),totheextentthatthey areapplicable,
IT Is ORDERED thatthe motion is:
        N DENIED. 1-
                   7-1GRANTED andthedefendant'spreviouslyimposedsentenceofimprisonment(asrellectedin
                          thelastjudgmentissuea)of 262                         monthsisreduced to 210 months*                   .


1. COURT DETERM INATION OF GUIDELINE RANGE (Priorto,
                                                   4n.y,Departures)
PreviousOffense Level:    39              Amended OffenseLevel:                                     37
CriminalHistory Category: I               CriminalHistoly Category:                                 I
PreviousGuidelineRange: 262 to 327 months Amended Guideline Range:                                  210         to 262 months
II. SENTENCE RELATW E TO AM ENDED GUIDELINE RANGE
I-
 Z-IThereducedsentenceiswithintheamendedguidelinerange,
U1Thepreviousterm ofimprisonmentimposedwaslessthantheguidelinerangeapplicabletothedefendantatthetime
    ofsentencinjasaresultofadepartureorRule35reduction,andthereducedsentenceiscomparablylessthanthe
    amended guldelinerange.
F-IOther(explain):



111. ADDITIONAL COM M ENTS
    *
    lThedefendant'
                 sterm ofimprisonmentisherebyreducedtonotmorethantwohundredten(210)months, butnot
     essthan time served.



Exceptasprovidedabove,aI1provisionsofthejudgmentdated 03/24/2008 shallremainineffect                      .

IT IS SO O R DER ED .

OrderDate:             0/Z -//                                                                  .
                                                                                                                '
                                                                                        Ju   signature
Effective Date:         11/01/2011                                          SeniorUnited StatesDi
                                                                                                strictJudge
                  (Lfdt
                      fferentfrom orderdate)                                        printednameandtltle
